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IN THE UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
                              No. 19-3509
                       _____________________
                   UNITED STATES OF AMERICA
                         Plaintiff/Respondent
                                  V.
                      REINALDO RODRIGUEZ,
                         Defendant/Appellant
              Appeal from the United States District Court
                     for the District of New Jersey
                     Docket No. 2-18-cr-00142-001
                 Honorable Susan D. Wigenton, U.S.D.J.
 __________________________________________________________________
                                _______
                      BRIEF FOR APPELLANT
 __________________________________________________________________




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          STATEMENT OF SUBJECT MATTER AND APPELLATE

                                  JURISDICTION

        The District Court for the District of New Jersey had subject matter

jurisdiction in this matter pursuant to 18 U.S.C § 3231. The United State Court of

Appeals for the Third Circuit has appellate jurisdiction in this matter pursuant to 28

U.S.C. § 1291 and 18 U.S.C. § 3742.



                               ISSUES ON APPEAL

        First, whether the District Court erred in allowing the Government to

introduce evidence of Defendant’s past convictions to show Defendant intended to

distribute a controlled dangerous substance, knowingly participated in a conspiracy

to do so, and knowingly possessed a controlled dangerous substance in the present

case.

        Second, whether the Government’s presentation of evidence rested upon an

incorrect understanding of the offense, according to recent case law precedent.


        Third, the Government’s persistent use of the name “Killa” when referring

to the Defendant was prejudicial and damaging.



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        STATEMENT OF RELATED CASES AND PROCEEDINGS



      Mr. Rodriguez is aware of no cases or proceedings related to this appeal.



                         STATEMENT OF THE CASE

      On March 23, 2019, Appellant was charged in an Indictment with Count 1:

Conspiracy to Distribute Heroin in violation of 21 U.S.C § 846, Count 2:

Distribution of Heroin, Marijuana, and Morphine in violation of 21 U.S.C §

841(a)(1) and (b)(1)(C), Count 3: Felon in Possession of a Firearm in violation of

18 U.S.C § 922(g)(1), Count 4: Possession of a Firearm in Relation to a Drug

Trafficking Crime in violation of 18 U.S.C § 924(c)(1)(A)(i). (App. Vol. I (b) p.

839-844).

      On or about April 26, 2019 Mr. Rodriguez was found not guilty on counts 3

and 4 of the superseding indictment and was discharged as to such count(s). (App.

Vol. I (b) p. 782-786). Mr. Rodriguez was found guilty of one count of conspiracy

to possess and distribute 1 kilogram or more of heroin, and one count of possession

with intent to distribute heroin. Id. On October 24, 2019, the Court sentenced

Appellant to a term of 300 months on each of the Count(s) One and Two to be


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served concurrently. (App. Vol. I (b) p. 787-820). Appellant filed a Notice of

Appeal on October 23, 2019. (App. Vol. I (b) p. 780-781).



                            STATEMENT OF FACTS

      On August 5, 2011, Defendant was convicted of distribution of a controlled

dangerous substance within 1000 feet of school property and 500 feet of a public

housing facility, park, or building. The Government had this conviction admitted

into evidence which, even with a limiting instruction, was substantially prejudicial

to Defendant due to its similarity to the crimes accused in the case at bar. (App.

Vol. I (b) p. 844-849).

      The presentence report alleges during the course of the conspiracy that

Reinaldo Rodriguez received heroin “approximately 1 or 2 times per week, 100

bricks at a time.” (Pre-Sentence Report, p. 16). Then it continues on to make a

conservative estimate of 1200 bricks per month. Id. 1200 bricks per month is not

even a liberal estimate if Rodriguez was receiving 100 to 200 bricks a week, as the

report alleges. Information within the presentence report conflicts with itself.

Furthermore, the Government never proved that Mr. Rodriguez was ever in

possession of 1000 grams or more at one time during the course of the alleged

conspiracy.




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      Lastly, during the course of the trial the Government frequently referred to

Mr. Rodriguez as “Killa” more than was necessary to establish the moniker as his

nickname, causing considerable prejudice to Defendant.




                            STANDARD OF REVIEW

      This Court reviews the District Court's allowance of the admission into

evidence of Rodriguez’s prior conviction for drug possession initially upon plenary

review. See United States v. Caldwell, 760 F.3d 267 (3rd Cir. 2014).

      This Court Review the District Court’s denial of a motion for acquittal de

novo. See United States v. Jimenez, 513 F.3d 62 (3rd Cir. 2008).



                          SUMMARY OF ARGUMENT

      The District Court erred in approving Defendant’s past convictions to be

used as evidence of Defendant’s intent. The introduction of the evidence had a

highly prejudicial effect that far outweighed its probative value.

      Additionally, the Government fails to show that Defendant possessed atleast

1000-grams of heroin at a single time with intent to distribute.




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        Lastly, frequent use of the nickname “Killa” to reference the Defendant

throughout the course of the trial was persistent, excessive, and significantly

prejudicial.



                                     ARGUMENTS

   I.      THE COURT ERRED BY PERMITTING THE GOVERNMENT TO
           INTRODUCE EVIDENCE OF DEFENDANT’S PAST CONVICTIONS

        Mr. Rodriguez’s counsel not only objected to the Government’s proposed

instruction on the 404(b) factors, but strongly opposed the introduction of

Defendant’s previous convictions entirely. During the trial the Court permitted

evidence of Defendant’s past crimes and wrongdoings. (See., App. Vol. I (b) p.

844-849). Specifically, the existence of a prior felony conviction relating to the

distribution of a controlled dangerous substance. The offense in Defendant’s prior

conviction and the crimes he is now being accused of committing are very similar

and thus creates a strong likelihood of significant prejudice when permitted into

evidence for the jury to consider.

        First, the Government sought to prove that Mr. Rodriguez intended to

distribute the heroin recovered from his bedroom, and that he conspired with others

to do it by linking those allegations to his prior conviction. This violates the entire

purpose of the rule. Rule 404(b) provides that “[e]vidence of a crime, wrong, or



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other act is not admissible to prove a person's character in order to show that on a

particular occasion the person acted in accordance with the character.”



         This rule reflects the longstanding concern that evidence of prior
         bad acts, when offered only to show the defendant's propensity to
         commit the charged crime, is said to weigh too much with the
         jury and to so over persuade them as to prejudice one with a bad
         general record and deny him a fair opportunity to defend against
         a particular charge.

         [Caldwell, 760 F.3d at 275 (citing United States v. Sampson, 980
         F.2d 883, 886 (3d Cir. 1992) (internal quotations omitted).]


      While the Government claims this is simply an issue of showing intent, it is

both highly prejudicial, and needlessly cumulative if Mr. Rodriguez’s felony status

is already established. To use this to show intent clearly violates Rule 404(b) as its

prejudicial effect on the jury far outweighs its probative value. Second, the

Government intends to use the prior bad act to show that Mr. Rodriguez’s

possession of the heroin and participation in the conspiracy was no

mistake/accident, despite no such evidence being raised. Once more the

Government is simply disguising a clearly propensity purpose cloaked by an

irrelevant exception to the rule.

      In United States v. Lopez, 635 Fed.Appx. 49 (3d Cir. 2015), the Third

Circuit held that the district court did not abuse its discretion in granting the



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narcotics defendant’s motion for a new trial based on the erroneous admission of

prior bad acts evidence.

      The Lopez court cited Rule 404(b):

      In recognition of the fact that a jury might place undue weight and evidence

on past wrongs, American courts have long excluded it. United States v. Davis, 726

F.3d 434, 440 (3d. Cir. 2013). “The risk is that jurors will focus on evidence of

prior acts, believing that someone with a criminal record cannot change and

discounting any evidence to the contrary.” Id. at 441. The Government is well

aware of this, as is the Defense. “Although the government will hardly admit it, the

reasons proffered to admit prior bad act evidence may often be [a facade], because

the motive, we suspect, is often mixed between an urge to show some other

consequential fact as well as to impugn the defendant's character.” United States v.

Sampson, 980 F.2d 883, 886 (3d. Cir. 1992).

      In essence, this was the unauthorized introduction of other crimes or bad acts

evidence to show propensity. Rule 404(b) explicitly forbids this use of evidence.

Here, that was the effect such evidence had. It created the possibility in the minds

of the jury that if Appellant had a previously been convicted of drug related crimes

in the past, he likely to acted in accordance with the character associated with such

a conviction. For the forgoing reasons and authorities cited, Defendant’s

conviction must be reversed, and a new trial ordered.


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II.   THE GOVERNMENT’S PRESENTATION OF EVIDENCE RESTED
      UPON AN INCORRECT UNDERSTANDING OF THE OFFENSE.

      According to recent case law precedent, the jurors were not adequately

instructed as to what evidence they can consider, how to consider it, and the

relevant legal principles. Had there been adequate instruction, no rational juror

would have found Defendant guilty beyond a reasonable doubt. Defense

specifically contends that the Government has failed to prove that he distributed or

possessed 1000 grams or more of heroin in a single unit. United States v. Anthony

Rowe established that when charged with distribution, the Government cannot

combine weights from multiple distribution and discontinuous possessions during

an indictment period. Anthony v. Rowe, 919 F.3d 752, 760 (3d Cir. 2019). Weight

from multiple distributions can be combined if Defendant is charged with

possession with intent to distribute, a continuing offense. Id. Possession with intent

to distribute is actual or constructive possession over a controlled substance.

United States v. Crippen, 459 F.2d 1387, 1388 (3d Cir. 1972). The Court

concluded that “possession of 1000 grams of heroin begins when a defendant has

the power and intention to exercise dominion and control over all 1000 grams, and

ends when his possession is interrupted by a complete dispossession or be a

reduction of that quantity to less than 1000 grams”. Rowe, 919 F.3d at 752.




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      In the case at bar, Government Exhibit 200-A is corroborated by testimony

of law enforcement, but even when combined, both fail to display a connection

between the Defendant’s discrete distributions and possessions and one occurrence

of possession of 1000 grams of heroin. (App. Vol. I (b) p. 842-843). The

Government’s theory was that all of the numbers mentioned in the text messages

and calls referred to heroin the Defendant distributed during the indictment period.

Yet, despite their obvious evidentiary value, the texts and calls lacked information

concerning whether or not the Defendant or any co-conspirators sold or possessed

a 1000-gram quantity at least once. Furthermore, testimony about the amount of

heroin that dealers generally would be able to access is insufficient to support a

finding that the Defendant had conspired to possess or distribute 1000 grams of

heroin at any particular time. Rowe, 919 F.3d at 761. Without details concerning

the amounts within the Defendant’s possession during these transactions, a rational

juror would only have been able to speculate about whether the Defendant

possessed a quantity of at least 1000 grams at one time during the indictment

period.


      All the evidence-including controlled buy, law enforcement’s testimony, and

the intercepted calls and texts-was insufficient, even in light most favorable to the

Government, to allow a rational juror to find that Defendant conspired to posses or

distribute or had consecutive possession of at least 1000 grams of heroin at a single
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time with intent to distribute it. Accordingly, Mr. Rodriguez submits that the

District Court erred in denying his motion for Judgment of Acquittal.



III.   THE GOVERNMENTS PERSISTENT AND PREJUDICIAL NAME
       CALLING WAS SUBSTANTIAL WARRANTING A NEW TRIAL.


       The Government throughout the trial engaged in repeated name calling when

using the nickname “Killa” to repeatedly refer to the Defendant. (See., App. Vol. 1.

p. 18, 20, 108, 146, 149, 219, 223; Vol.1(a), p. 620, 721, 722, 730, 745, 748, 755).

The references in this case were voluminous, persistent, and extremely prejudicial,

particularly in the context of the charges presented. Those references so infected

the trial with unfairness as to make the resulting conviction a denial of due process

in light of the entire proceeding. United States v. Morena, 547 F.3d 191, 194 (3d

Cir. 2008). It is well-established that “the adversary system permits the prosecutor

to prosecute with earnestness and vigor” but bars “overzealous conduct.” United

States v. Young, 470 U.S. 1, 7 (1985), see also United states v. Vaghari, 500 fed.

App’x 139, 144 (3d Cir. 2012). The Court should not be satisfied that the

Government acted properly. In one instance, against objections from the Defense,

the Government played a short phone call recording between Defendant and his

girlfriend arguing about their relationship, in which Defendant says, “-my name

ain’t Killa for nothing”. (App. Vol. I (a) p. 145). Playing this recording had no


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relation to the charges in the present case and could serve no other purpose than to

significantly prejudice the jury against the Defendant.

      “The type of counsel misconduct that warrants granting a new trial is not

generally a single isolated inappropriate comment, but rather repeated conduct that

permeates the trial. United States v. Riley, 621 F.3d 312, 339 (3d Cir. 2010). The

Government references Appellant as “Killa” at least 15 times during the trial. This

is precisely the type of repeated conduct that “permeated” the trial and warrants a

new trial. See Riley, 621 F.3d at 339 (3d Cir. 2010).

                                  CONCLUSION

      For the foregoing reasons and authorities cited, this Court should reverse

Appellant Reinaldo Rodriguez’s conviction and order a new trial as to each count.



Dated: May 12, 2020

                                                     /s/ JOHN P. MCGOVERN

                                                     John P. McGovern, Esq.




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                 CERTIFICATION OF BAR MEMBERSHIP

       I, John P. McGovern, Esquire, hereby certify that I have been admitted

before the bar of the United States Court of Appeals for the Third Circuit and that I

am a member in good standing of the Court.



Dated: May 12, 2020

                                                     /s/ JOHN P. MCGOVERN

                                                     John P. McGovern, Esq.




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                    CERTIFICATION OF COMPLIANCE

   I, John P. McGovern, Esquire, hereby certify that:

1. This Brief complies with the type-volume limitation of Fed. R. App. P. 32

   (a)(7)(B) because this Brief contains 2077 words, excluding parts of the Brief

   exempted by Fed. R. App. P. 32 (a)(7)(B)(iii).

2. This Brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

   and the type style requirements of Fed. R. App. P. 32(a)(6) because of this Brief

   has been prepared in a proportionately spaced typeface using Microsoft Office

   Word 2013 in Times New Roman, Font size 14.




Dated: May 12, 2020

                                                    /s/ JOHN P. MCGOVERN

                                                    John P. McGovern, Esq.




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                        CERTIFICATION OF NO VIRUS

      I, John P. McGovern, Esquire, hereby certify that the electronic copy of this
Brief was scanned for viruses using Avast Antivirus and that no viruses were
found.



Dated: May 12, 2020

                                                    /s/ JOHN P. MCGOVERN

                                                    John P. McGovern, Esq.




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             CERTIFICATION OF IDENTICAL COMPLIANCE

      I, John P. McGovern, Esquire, hereby certify that this Brief is identical to the

version submitted electronically on April 15, 2020.



Dated: May 12, 2020

                                                      /s/ JOHN P. MCGOVERN

                                                      John P. McGovern, Esq.




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                        CERTIFICATION OF SERVICE

      I, John P. McGovern, Esquire, an attorney, hereby certify that on April 15,

2020, I caused the foregoing Brief of Appellant Reinaldo Rodriguez to be

electronically filed with the Clerk of the Court of the United States Court of

Appeals for the Third Circuit by using the CM/EFC system, which also caused a

copy of the foregoing to be delivered by electronic means to the parties listed

below. I further certify that I have caused seven (7) copies of Appellant’s Brief to

be transmitted to the Court via UPS overnight delivery, and one copy of

Appellant’s Brief to be served upon the parties listed below via UPS overnight

delivery.


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Dated: May 12, 2020

                                                     /s/ JOHN P. MCGOVERN

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